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                       LTNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                                                                 cLal-aa3?,t\ub
 LINITED STATES OF AMERICA.                      INDICTMENT.

                      Plaintiff.                 18 u.s.c. $e22(g)(I)
                                                 18 U.S.C. S e2aG)
       V.                                        28 U.S.C. $ 2a6r@)

MARCELL DOUSHAWN ESTES.

                      Defendant.

      THE UNITED STATES GRAND JURY CHARGES THAT:

                                       COUNT 1
              (Felon in Possession of a Firearm-Armed Career Criminal)

      On or about September 21,2021, in the State and District of Minnesota, the

defendant,

                         MARCELL DOUSHAWN ESTES,

having been previously convicted of the following crimes, each of which                was.

punishable by imprisonment for a term exceeding one year, and atleast three of which

were violent felonies or serious drug offenses committed on an occasion different from

the others, namely,

                                                                          Date of
                                               Jurisdiction of
                                                                         Conviction
                                                Conviction

       Accomplice After the Fact

    Aggravated Robbery     - l't Degree       Ramsey Counfy,            May 3,20L0
                                                Minnesota
    AggraYated Robbery     - l't Degree                                 May 3,2010



                                                                           00T   le   2021

                                                                        U.S, DTSTRICT
                                                                                      COTHT   MN
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                                                                           Date of
                                                 Jurisdiction of
                      Crime                                              Conviction
                                                  Conviction            (on or about)
     Aggravated Robbery         -           Ramsey County,
                                    1" Degree                            May 3,20t0
                                               Minnesota
     BvrSary -2d Degree- Dwelling          Hennepin County,       March 15.2018
                                               Minnesota
and knowing he hadbeen convicted of at least one crime punishable by imprisonment

for aterm exceeding one year, did knowingly possess, in and affecttng interstate and

foreign commerce , afuearm,thatis, a Smith & Wesson M&P .40 cahber pistol beartng

serial number NCU9175, all in violation of Title 18, United States Code, Sections

e22(g)(r) and924(e).

                                FORFEITURE ALLEGATIONS

        If convicted of Count 1 of this Indictment, the defendant,

                               MARCELL DOUSHAWN ESTES,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d)(l), and Title 28, United States Code, Section 2461(c), any firearms,

ammunition, and accessories (including magazrnes) involved           in or used in   any

knowing violation of Title 18, United States Code, Section 922(9), including, but not

limited to, a Smith & Wesson M&P .40 calber pistol beartng serial number NCU9175

and any ammunition and accessories seized therewith.
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United States v. Marcell Doushawn Estes




                                          A TRUE BILL




ACTING UNITED STATES ATTORNEY FOREPERSON
